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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

WAYCROSS DIVISION

CHANGE OF PLEA IN USA v. Charles Michael King

CRIMINAL NO. ©R5?!-9 AT Waycross, GA

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WITH CONSENT OF THE COURT, THE

DEFENDANT Charles Michael King , HAVING

PREVIOUSLY ENTERED A PLEA OF N°t Guilty

>

HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

OF Guilty TO Count One (1)

IN THE INDICTMENT.

THIS 18th DAY OF July

» 2023.
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NOLLE PROSSE AS Cai Zea LY, lesan
- © Charles Michael King DEFENDANT
TO COUNT(S)

/

(/ COUNSEL FOR DEFENDANT

Jack Downie, Sr.

